             Case 1:22-cv-01277 Document 1 Filed 05/11/22 Page 1 of 7




                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA



 GMO FREE USA d/b/a TOXIN FREE USA, P.O.
 Box 458, Unionville, CT 06085,


         Plaintiff,                                          Case No. ______________________
 v.

 BURT’S BEES, INC., 210 West Pettigrew Street,
 Durham, NC 27701, and THE CLOROX
 COMPANY, 1221 Broadway, Oakland, CA
 94612,


         Defendants.



                                   NOTICE OF REMOVAL

       Burt’s Bees, Inc. and The Clorox Company (“Defendants”) hereby remove this action from

the Superior Court of the District of Columbia to the United States District Court for the District

of Columbia. Removal is proper under 28 U.S.C. § 1332(a), which provides that federal courts

have original jurisdiction over “all civil actions where the matter in controversy exceeds the sum

or value of $75,000,” and the parties are from different domiciles. Venue is proper under 28 U.S.C.

§ 1441(a) because this action was filed in the Superior Court of the District of Columbia, which is

coextensive with the District to which this case has been removed.

            FACTUAL BACKGROUND AND STATE COURT PROCEEDINGS

       1.      Plaintiff GMO Free USA d/b/a TOXIN FREE USA (“Plaintiff”) filed this action in

the Superior Court of the District of Columbia on April 1, 2022. See Ex. A (“Compl.”).

Defendants acknowledged receipt of the Summons and Complaint on April 19, 2022. See Ex. B,




                                                1
             Case 1:22-cv-01277 Document 1 Filed 05/11/22 Page 2 of 7




C. Pursuant to 28 U.S.C § 1446(a), a true and correct copy of the remainder of the Superior Court

case file (including all documents other than the Complaint and the Acknowledgments of Service)

is attached as Exhibit D and incorporated by reference herein.

       2.        According to the Complaint, Defendants are cosmetic and personal care companies

that market and sell Burt’s Bees cosmetic products, including Nourishing Mascara, All Aflutter

Multi-Benefit Mascara, Blush Makeup, and Lip Balm (the “Products”) throughout the United

States. Compl. at 1 & ¶¶ 7, 79-82.

       3.        Plaintiff challenges a number of representations that allegedly appear in online

advertisements and on Product packaging, including “100% Natural,” “100% Natural Origin,” and

“responsible sourcing.” Id. ¶ 23. Plaintiff contends that these representations are misleading

because the Products are “likely made” with chemicals like per- and polyfluoroalkyl substances

(“PFAS”), and one of them (Lip Balm) allegedly contains trace amounts of synthetic biocides. Id.

¶¶ 11, 34, 47.

       4.        Based on these allegations, Plaintiff claims that Defendants’ marketing and sale of

the Products violates Section 28-3904 of the District of Columbia Consumer Protection Procedures

Act (“CPPA”), D.C. Code § 28-3901 et seq. See Compl. ¶¶ 89-90.

       5.        Plaintiff purports to bring this action “on behalf of itself and the general public”

pursuant to D.C. Code Sections 28-3905(k)(1)(C) and (D). Compl. ¶¶ 18-20; see also id. ¶ 85

(“[Plaintiff] . . . brings these claims in its individual and representative capacities, on its own

behalf, and on behalf of the general public of D.C. consumers.”); D.C. Code § 28-3905(k)(1)(C)

(“A nonprofit organization may, on behalf of itself or any of its members, or on any such behalf

and on behalf of the general public, bring an action seeking relief from the use of a trade practice

in violation of a law of the District…”); id. § 28-3905(k)(1)(D) (“a public interest organization




                                                  2
             Case 1:22-cv-01277 Document 1 Filed 05/11/22 Page 3 of 7




may, on behalf of the interests of a consumer or a class of consumers, bring an action seeking relief

from the use by any person of a trade practice in violation of a law of the District…”)

       6.      Plaintiff seeks a variety of remedies under the CPPA, including a declaration that

Defendants’ conduct violates the CPPA, an order “enjoining Defendants’ conduct found to be in

violation of the CPPA,” and an order “granting Plaintiff costs and disbursements, including

reasonable attorneys’ fees and expert fees, and prejudgment interest at the maximum rate allowable

by law.” Compl. at 20-21 (Prayer for Relief).

                    REMOVAL IS PROPER UNDER 28 U.S.C. § 1332(a)

       7.      28 U.S.C. § 1441 provides that “any civil action brought in a State court of which

the district courts of the United States have original jurisdiction, may be removed by the

defendant.” Under 28 U.S.C. § 1332(a), federal courts have original jurisdiction over “all civil

actions where the matter in controversy exceeds the sum or value of $75,000,” and the parties are

completely diverse. Removal is proper here, as the parties are completely diverse and the amount

at issue exceeds $75,000.

                              The Parties Are Completely Diverse

       8.      Plaintiff is a Connecticut corporation headquartered in Connecticut. See Ex. E

(Connecticut State Website); Compl. at 1. Defendants are both Delaware corporations

headquartered in Oakland, California. Ex. F (California Secretary of State Website); Ex. G (North
                                        1
Carolina Secretary of State Website).

       9.      Accordingly, this action satisfies the diversity of citizenship requirement because

Plaintiff is a citizen of Connecticut, while Defendants are citizens of Delaware and California. See


1
 Plaintiff alleges that Burt’s Bees is headquartered in Durham, North Carolina. Compl. ¶ 80.
Although Burt’s Bees was previously headquartered in Durham, its “principal office” is now in
Oakland, California, as reflected on the North Carolina Secretary of State’s website. See Ex. G.



                                                 3
              Case 1:22-cv-01277 Document 1 Filed 05/11/22 Page 4 of 7




28 U.S.C. § 1332(c)(1) (providing that a corporation is a “citizen of any State by which it has been

incorporated and of the State where it has its principal place of business”).

                          There Is More than $500,000 In Controversy

        10.     In assessing the amount in controversy, “[a]bsolute certainty as to the amount is not

essential; it suffices that there is a present probability that the [amount in controversy] . . . meet[s]

the statutory requirement.” Comm. for GI Rights v. Callaway, 518 F.2d 466, 472 (D.C. Cir. 1975).

        11.     At this stage of the litigation, Defendants need not submit evidence substantiating

the amount in controversy, so long as they can offer a “plausible allegation that the amount in

controversy exceeds the jurisdictional threshold.” Dart Cherokee Basin Operating Co., LLC v.

Owens, 574 U.S. 81, 89 (2014). “Evidence establishing the amount [in controversy] is required . .
                                                                                               2
. only when the plaintiff contests, or the court questions, the defendant’s allegation.” Id.

        12.     Here, Plaintiff seeks injunctive relief, including but not limited to “an order

enjoining Defendants’ conduct found to be in violation of the CPPA.” Compl. at 20-21 (Prayer

for Relief). It is well-established that “the test for determining the amount in controversy is the

pecuniary result to either party which the judgment would directly produce.” Tatum v. Laird, 444

F.2d 947, 951 n.6 (D.C. Cir. 1971), rev’d on other grounds, 408 U.S. 1 (1972); see also, e.g., Smith

v. Washington, 593 F.2d 1097, 1099 (D.C. Cir. 1975) (“[A] court may look to either the value of

the right that plaintiff seeks to enforce or protect or the cost to the defendants to remedy the alleged

denial.”); Comm. for GI Rights, 518 F.2d at 472 (same).



2
  To the extent there is any dispute as to the amount in controversy, Defendants expressly reserve
the right to submit additional evidence substantiating their jurisdictional allegations. See, e.g.,
Lavelle v. State Farm Mut. Auto Ins. Co., 235 F. Supp. 3d 217, 223 (D.D.C. 2017) (denying motion
to remand based on post-removal “evidence regarding attorneys’ fees and punitive damages” and
rejecting argument that the defendant “waived its right to use these factors in its calculation of the
amount in controversy” because it did not submit this evidence alongside its notice of removal).



                                                   4
              Case 1:22-cv-01277 Document 1 Filed 05/11/22 Page 5 of 7




       13.     The cost to Defendants of complying with Plaintiff’s broadly-defined injunctive

relief would exceed $500,000, particularly when coupled with the other relief Plaintiff seeks.

Assuming for purposes of this Notice of Removal only that Plaintiff prevails in this lawsuit,

Defendants could be required to modify the manufacturing processes for the Products to remove

the chemicals that Plaintiff alleges are likely present in the Products. It is difficult to predict the

full cost to Defendants of determining the source of the alleged chemicals (assuming for purposes

of this Notice only that they are present in the Products) and then changing the sourcing and/or

manufacturing process for each of the Products, but it would surely exceed $500,000. See Ex. H,

Declaration of Dallas Mariah Eckhardt ¶ 4. Alternatively, rather than modifying the sourcing

and/or manufacturing process, Defendants could be required to revise certain representations

across all of their public platforms, marketing tools, and packaging related to the Products (see

Compl. ¶¶ 1, 22, 23), which would cost Defendants approximately $600,000. See Ex. I ¶¶ 5-6.

       14.     The non-aggregation principle does not apply to Defendants’ costs of compliance

with Plaintiff’s requested relief because there is only one Plaintiff in this action — GMO Free

USA d/b/a Toxin Free USA. To the extent the Complaint is interpreted as bringing claims on

behalf of multiple plaintiffs, the relief Plaintiff seeks is indivisible. See Tatum v. Laird, 444 F.2d

947 (D.C. Cir. 1971), rev’d on other grounds, 408 U.S. 1 (1972); Committee for GI Rights v.

Callaway, 518 F.2d 466 (D.C. Cir. 1975). Further, Plaintiff also asserts a CPPA claim “in its

individual . . . capacit[y], on its own behalf.” Compl. ¶ 85. Because that individual claim

independently meets the jurisdictional threshold, the Court can assert jurisdiction over the entire

action. See Exxon Mobil Corp. v. Allapattah Services, Inc., 545 U.S. 546 (2005) (the district court

can assert supplemental jurisdiction over all claims when at least one plaintiff satisfies the

requirements of diversity jurisdiction).




                                                  5
             Case 1:22-cv-01277 Document 1 Filed 05/11/22 Page 6 of 7




       15.     Plaintiff also seeks attorneys’ fees, which are recoverable under the CPPA. See

Compl. at 20-21 (Prayer for Relief); D.C. Code § 28-3905(k)(2)(B). Courts routinely consider

attorneys’ fees under the CPPA in calculating the amount in controversy. See, e.g., Sloan, 2015

WL 927838, at *9 (noting that “[a]ttorney fees are part of the amount in controversy if they are

provided for by statute or contract” and collecting cases). And fee awards under the CPPA can

reach into the hundreds of thousands of dollars. See, e.g., Beck v. Test Masters Educ. Servs., Inc.,

73 F. Supp. 3d 12, 18, 20 (D.D.C. 2014) (awarding $927,707.89 in attorneys’ fees and expenses

in a CPPA lawsuit); Williams v. First Gov’t Mortg. & Invr’s Corp., 225 F.3d 738, 743 (D.C. Cir.

2000) (affirming award of $199,340 in attorneys’ fees in a CPPA lawsuit); Jackson v. Byrd, No.

01-ca-825, 2004 WL 3249692, at *3 (D.C. Sup. Ct. Sept. 2, 2004) (awarding $196,000 in

attorneys’ fees to CCPA plaintiff).

       16.     Plaintiff’s request for attorneys’ fees is not subject to the non-aggregation principle

for the same reasons applicable to Defendants’ costs of compliance, and because the fee request is

made solely on behalf of GMO Free USA d/b/a Toxin Free USA. See Compl. at 20-21 (Prayer for

Relief) (requesting “[a]n order granting Plaintiff costs and disbursements, including reasonable

attorneys’ fees” (emphasis added)).

       17.     In short, the potential value of Plaintiff’s request for injunctive relief and attorneys’

fees significantly exceeds the minimum amount-in-controversy of $75,000.

                                       VENUE IS PROPER

       18.     Venue is proper because this action was initially filed in the Superior Court of the

District of Columbia, which is coextensive with the U.S. District Court for the District of

Columbia. See 28 U.S.C. § 1441(a) (noting that an action may be removed “to the district court




                                                  6
             Case 1:22-cv-01277 Document 1 Filed 05/11/22 Page 7 of 7




of the United States for the district and division embracing the place where such action is

pending”).

                 OTHER REQUIREMENTS FOR REMOVAL ARE MET

       19.     Under 28 U.S.C. § 1446(b), notice of removal of a civil action must be filed within

thirty days of the defendant’s receipt of service of the summons and the Petition. Defendants were

served on April 19, 2022. See Exs. B, C. This Notice of Removal is accordingly timely. See Fed.

Rule Civ. P. 6(a)(1)(C).

       20.     Defendants have not filed any pleadings in the Superior Court responding to the

Complaint.

       21.     In accordance with 28 U.S.C. § 1446(d), Defendants will file a notice of their

Notice of Removal with the Superior Court, and will promptly serve a copy of this Notice of

Removal on the parties.


Dated: May 10, 2022                                      Respectfully submitted,

                                                         JENNER & BLOCK LLP

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